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             EXHIBIT A
             (Proposed Order)
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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


    In re:                                                    Chapter 11

    Hartman SPE, LLC,                                         Case No. 23-11452 (MFW)

                      Debtor.1                                Related Docket No. 883



                      ORDER GRANTING REORGANIZED DEBTOR’S FIFTH
                  (NON-SUBSTANTIVE) OMNIBUS OBJECTION TO SATISFIED TAX
                    CLAIMS PURSUANT TO BANKRUPTCY CODE SECTION 502,
                       BANKRUPTCY RULE 3007, AND LOCAL RULE 3007-1

             This matter having come before the Court upon consideration of the Reorganized Debtor’s

Fifth (Non-Substantive) Omnibus Objection to Satisfied Tax Claims Pursuant to Bankruptcy Code

Section 502, Bankruptcy Rule 3007, and Local Rule 3007-1 (the “Fifth Omnibus Objection”);2

notice of the Fifth Omnibus Objection having been properly and timely served upon: (i) the

claimants listed on Schedule 1 at the addresses set forth on each claimant’s respective proof of

claim, (ii) the U.S. Trustee, and (iii) parties that have requested notice in this Chapter 11 Case

pursuant to Bankruptcy Rule 2002; upon the record of the hearing to consider the relief requested

in the Fifth Omnibus Objection; and, after due deliberation and sufficient cause appearing therefor,

      THE COURT FINDS AND CONCLUDES THAT:

             A.      The Court has jurisdiction over this case under 28 U.S.C. § 1334(b).

             B.      This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).



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      The Reorganized Debtor in this chapter 11 case, along with the last four digits of its federal tax identification
      number, is Hartman SPE, LLC (7400). The Reorganized Debtor’s principal place of business and service address
      is 2909 Hillcroft, Suite 420, Houston, TX 77057. Copies of pleadings may be obtained from the website of the
      United States Bankruptcy Court for the District of Delaware www.deb.uscourts.gov or from the Reorganized
      Debtor’s Claim Agent’s website https://dm.epiq11.com/HartmanSPE.
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      Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Fifth Omnibus
      Objection.
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              C.        Due and adequate notice has been given to all parties entitled thereto, and no other

or further notice is necessary or required.

              D.        The Court has reviewed the Fifth Omnibus Objection and has considered the

representations of counsel regarding the relief requested therein.

              E.        The relief requested in the Fifth Omnibus Objection is necessary and in the best

interests of the Reorganized Debtor and its estate.

       THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

              1.        The Fifth Omnibus Objection is GRANTED, as set forth in this Order.

              2.        The claims listed on Schedule 1 attached hereto are hereby disallowed in their

entirety and expunged from the claims register.

              3.        The Reorganized Debtor’s claims agent shall amend the claims register maintained

in the Reorganized Debtor’s Chapter 11 Case to conform to this Order.

              4.        The Reorganized Debtor’s objection to each Satisfied Tax Claim addressed in the

Objection constitutes a separate contested matter as contemplated by Bankruptcy Rule 9014. This

Order shall be deemed a separate Order with respect to each claim. Any stay of this Order pending

appeal by any of the Claimants subject to this Order shall only apply to the contested matter which

involves such claimant and shall not act to stay the applicability and/or finality of this Order with

respect to the other contested matters covered hereby.

              5.        Any and all rights of the Reorganized Debtor to amend, supplement, or otherwise

modify the Objection and to file additional objections to any and all claims filed in this Chapter

11 Case shall be reserved. Any and all rights, claims, and defenses of the Reorganized Debtor

with respect to any and all Claims shall be reserved, and nothing included in or omitted from the




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Objection is intended or shall be deemed to impair, prejudice, waive, or otherwise affect any rights,

claims, or defenses of the Reorganized Debtor with respect to the Satisfied Tax Claims.

              6.        This Order shall be a final order with respect to each of the Proofs of Claim

identified on Schedule 1 annexed hereto, as if each such Proof of Claim had been individually

objected to.

              7.        Notwithstanding any Bankruptcy Rule to the contrary, this Order shall take effect

immediately upon entry by the Court.

              8.        This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation and/or enforcement of this Order.




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                                                  Schedule 1 - Satisfied Tax Claims

                                          CLAIM       CLAIM            SCHEDULE    SCHEDULED
         NAME OF CLAIMANT                                                                             REASON FOR DISALLOWANCE
                                         NUMBER      AMOUNT             NUMBER      AMOUNT
ALDINE INDEPENDENT SCHOOL DISTRICT         157       $116,043.18                                  The Debtor's books and records indicate
ATTN LEGAL DEPT                                                                                   this claim as satisfied
2520 WW THORNE BLVD
HOUSTON, TX 77073




ALIEF INDEPENDENT SCHOOL DISTRICT         10159       $6,953.20                                   The Debtor's books and records indicate
MELISSA E. VALDEZ                                                                                 this claim as satisfied
1235 NORTH LOOP WEST SUITE 600
HOUSTON, TX 77008




CARROLLTON-FARMERS BRANCH ISD               3        $327,105.13                                  The Debtor's books and records indicate
C/O PERDUE BRANDON FIELDER, ET AL                                                                 this claim as satisfied
ATTN LINDA D REECE
1919 S SHILOH RD, STE 640, LB 40
GARLAND, TX 75042


HARRIS CNTY MUNICIPAL UTILITY DIST        10151       $5,566.76                                   The Debtor's books and records indicate
#186                                                                                              this claim as satisfied
ATTN CARL O SANDIN
1235 NORTH LOOP W, STE 600
HOUSTON, TX 77008


HARRIS COUNTY FWSD # 51                   10163      $1,650.00         452007900      $284.34     Taxes owed by non-debtor.
JUSTIN BARLOW
1235 NORTH LOOP WEST SUITE
600HOUSTON, TX 77008
HARRIS COUNTY MUD #81                     10188      $20,865.41        452007980      $4,541.45   The Debtor's books and records indicate
1235 NORTH LOOP WEST SUITE 600                                                                    this claim as satisfied
HOUSTON, TX 77008
                                                                                                  Claim No. 10188 was withdrawn. See Dkt.
                                                                                                  No. 683




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                                               Schedule 1 - Satisfied Tax Claims

                                       CLAIM       CLAIM           SCHEDULE    SCHEDULED
          NAME OF CLAIMANT                                                                         REASON FOR DISALLOWANCE
                                      NUMBER      AMOUNT            NUMBER      AMOUNT
HARRIS COUNTY MUD 185                                              452008000       $1,076.01   The Debtor's books and records indicate
P.O. BOX 684000                                                                                this claim as satisfied
HOUSTON, TX 77268-4000




HARRIS COUNTY MUD 186                                              452008020       $615.65     The Debtor's books and records indicate
PO BOX 842115                                                                                  this claim as satisfied
HOUSTON, TX 77284




HARRIS COUNTY WCID #116                10161       $8,589.11                                   The Debtor's books and records indicate
MELISSA E. VALDEZ                                                                              this claim as satisfied
1235 NORTH LOOP WEST SUITE 600
HOUSTON, TX 77008                                                                              Claim No. 10161 was withdrawn. See Dkt.
                                                                                               No. 642


HARRIS COUNTY WCID #116                                            452008070       $2,266.10   The Debtor's books and records indicate
P.O. BOX 173, DEP. 55037                                                                       this claim as satisfied
HOUSTON, TX 77001
                                                                                               Claim No. 10161 was withdrawn. See Dkt.
                                                                                               No. 642


HARRIS COUNTY WCID #145                10153       $1,497.46                                   The Debtor's books and records indicate
ATTN CARL O SANDIN                                                                             this claim as satisfied
1235 NORTH LOOP W, STE 600
HOUSTON, TX 77008




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                                                  Schedule 1 - Satisfied Tax Claims

                                          CLAIM       CLAIM             SCHEDULE    SCHEDULED
         NAME OF CLAIMANT                                                                            REASON FOR DISALLOWANCE
                                         NUMBER      AMOUNT              NUMBER      AMOUNT
HARRIS COUNTY                             10139     $2,743,845.91                               The Debtor's books and records indicate
C/O HARRIS COUNTY ATTORNEY'S OFFICE                                                             this claim as satisfied
ATTN PROPERTY TAX DIVISION
PO BOX 2928
HOUSTON, TX 77252-2928




HARRIS- GALVESTON SUBSIDENCE                                            452008090     $500.00   The Debtor's books and records indicate
DISTRICT                                                                                        this claim as satisfied
1660 WEST BAY AREA BLVD.
FRIENDSWOOD, TX 77546-2640


NORTH HOUSTON DISTRICT                     131       $18,747.42                                 The Debtor's books and records indicate
C/O SMITH MURDAUGH LITTLE & BONHAM                                                              this claim as satisfied
LLP
2727 ALLEN PKWY, STE 1100
HOUSTON, TX 77019


PLANO INDEPENDENT SCHOOL DISTRICT           2        $265,666.99                                The Debtor's books and records indicate
C/O PERDUE BRANDON FIELDER, ET AL                                                               this claim as satisfied
ATTN LINDA D REECE
1919 S SHILOH RD, STE 640, LB 40
GARLAND, TX 75042




RICHARDSON INDEPENDENT SCHOOL               4       $1,748,652.04                               The Debtor's books and records indicate
DISTRICT                                                                                        this claim as satisfied
C/O PERDUE BRANDON FIELDER, ET AL
ATTN EBONEY COBB
500 E BORDER ST, STE 640
ARLINGTON, TX 76010




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